     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 99-2264

                        UNITED STATES,

                          Appellee,

                              v.

             MARCOS MATTEI-GARCIA, a/k/a EL GATO,

                    Defendant, Appellant.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF PUERTO RICO

        [Hon. Jose Antonio Fuste, U.S. District Judge]

                            Before

                   Torruella, Chief Judge,
             Boudin and Lipez, Circuit Judges.

   William Nadal-Colon on brief for appellant.
   Guillermo Gil, United States Attorney, Jorge E. Vega-Pacheco,
Assistant United States Attorney, and Michelle Morales, Assistant
United States Attorney, on brief for appellee.

January 11, 2000

          Per Curiam.   After a thorough review of the record
and the submissions of the parties, we affirm the order of
detention.  Appellant is not entitled to release under 18
U.S.C.  3164(c), since nearly all of the time since he was
first detained is excludable under 18 U.S.C.  3161(h)(1),
(h)(1)(E), (h)(1)(F), and (h)(7).  See 18 U.S.C.  3164(b)
("The periods of delay enumerated in section 3161(h) are
excluded in computing the time limitation specified in this
section.").
          Affirmed.  1st Cir. Loc. R. 27(c).
